Case
  Case
     2:18-cv-02297-GMN-NJK
        3:18-cv-05781-EMC Document
                            Document
                                   1-11-1Filed
                                            Filed
                                               09/21/18
                                                  09/21/18Page
                                                            Page
                                                               1 of1 13
                                                                     of 13




                 EXHIBIT A
                   Case
                     Case
                        2:18-cv-02297-GMN-NJK
                           3:18-cv-05781-EMC Document
                                               Document
                                                      1-11-1Filed
                                                               Filed
                                                                  09/21/18
                                                                     09/21/18Page
                                                                               Page
                                                                                  2 of2 13
                                                                                        of 13



               GLANCY PRONGA Y & MURRAY LLP
           1   Lionel Z. Glancy (SBN 134180)
               Marc L. Godino (SBN 182689)
           2   Danielle L. Manning (SBN 313272)
               1925 Century Park East, Suite 2100
           3   Los Angeles, California 90067
               Telephone: (310) 201-9150
           4   Facsimile: (310) 201-9160                                      ,IAME5 M, Kl;',!, Court F:<"r',:ii•:t 011                      ~p

               E-mail: info@glancylaw.com                                       1\!ARrN   [_.nv:·,, -r r ~: · \:f: ~ ·   -·~~   t_   :_>t_~i.\T
           5                                                                              Hy: -{ Ci':»,1. ucp -'i:f
               GREENS TONE LAW APC
           6   Mark S. Greenstone (SBN 199606)
               1925 Century Park East, Suite 2100
           7   Los Angeles, California 90067
               Telephone: (310) 201-9156
           8   Facsimile: (310) 201-9160
               E-mail: mgreenstone@greenstonelaw.com
           9
               JAURIGUE LAW GROUP
          10   Michael J. Jaurigue (SBN 208123)
                 michael@jlglawyers.com

 -
 00
 C)
 !!'..!
          11
          12
               Abigail A. Zelenski (SBN 228610)
                abigail@jlglawyers.com
               David Zelenski (SBN 231768)
""
c:::,     13
                david@jlglawyers.com
               300 West Glenoaks Boulevard, Suite 300
(.!)
::::>          Glendale, California 91202
~         14   Telephone: (818) 630-7280
               Facsimile: (888) 879-1697
          15
l~        16
               Attorneys for PlaintiffJustin Castillo

~         17                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                         MARIN COUNTY

                                                                                      i
               JUSTIN CASTILLO, as an individual and on          Case No.   ~I',./ 1 8 0 2 7 1 6 ~·
               behalf of all others similarly situated,
                                                                 CLASS-ACTION COMPLAINT
                              Plaintiff,
                                                                 Violation of the Telephone Consumer Protection
                      V.                                         Act, 47 U.S.C. § 227

               CAESARS ENTERTAINMENT
          24   CORPORATION and DESERT PALA CE, LLC               DEMAND FOR JURY TRIAL
               dba CAESARS PALA CE HOTEL & CASINO,
          25
                              Defendants.




                                                        CLASS-ACTION COMPL
         Case
           Case
              2:18-cv-02297-GMN-NJK
                 3:18-cv-05781-EMC Document
                                     Document
                                            1-11-1Filed
                                                     Filed
                                                        09/21/18
                                                           09/21/18Page
                                                                     Page
                                                                        3 of3 13
                                                                              of 13



 1                                         JURISDICTION AND VENUE

 2          1.      Jurisdiction. As alleged below, this is a civil action arising under the Telephone

 3   Consumer Protection Act ("TCPA"), 47 U.S.C. § 227. Federal and state courts have concurrent

 4   jurisdiction over suits arising under the TCPA. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740,

 5   745 (2012). This Court therefore has subject-matter jurisdiction over Plaintiffs cause of action.

 6   Furthermore, this Court has personal jurisdiction over Defendants because, as alleged below, they have

 7   purposefully availed themselves of the resources and protections of California, and have intentionally

 8   targeted California citizens with the text messages that form the basis of this case.

 9          2.      Venue. Venue is proper in this Court pursuant to California Code of Civil Procedure

10   section 395, which provides that, "[i]f none of the defendants reside in the state ... , the action may be

11   tried in the superior court in any county that the plaintiff may designate in his or her complaint." Cal.

12   Civ. Proc. Code § 395(a).

13                                       INTRODUCTORY STATEMENT

14          3.      Plaintiff Justin Castillo brings this class action on behalf of himself, individually, and all

15   others similarly situated against Defendants Caesars Entertainment Corporation ("CEC") and Desert

16   Palace, LLC dba Caesars Palace Hotel & Casino ("Caesars Palace") pursuant to section 382 of the

17   California Code of Civil Procedure.

18          4.      As alleged below, Defendants have violated the TCPA through their unauthorized contact

19   of consumers on the consumers' respective cellular telephones using a virtual concierge platform known

20   as "Ivy." Specifically, Defendants have violated the TCPA by sending consumers unsolicited text

21   messages for marketing and advertising purposes using Ivy, invading the consumers' right to privacy.

22          5.      Pursuant to 47 U.S.C. § 227(b)(3), Plaintiff and Class Members are entitled to, inter alia,

23   statutory damages and injunctive relief for Defendants' violations.

24                                                    PARTIES

25          6.      Plaintiff is a resident of the County of Los Angeles, in the State of California. He is, and

26   at all times relevant to this action was, a "person" as defined under 47 U.S.C. § 153.

27           7.     Plaintiff is informed and believes, and based thereon alleges, that Defendant CEC is a

28   Delaware company with its principal place of business located at One Caesars Palace Drive, Las Vegas,



                                               CLASS-ACTION CO:MPL.
             Case
               Case
                  2:18-cv-02297-GMN-NJK
                     3:18-cv-05781-EMC Document
                                         Document
                                                1-11-1Filed
                                                         Filed
                                                            09/21/18
                                                               09/21/18Page
                                                                         Page
                                                                            4 of4 13
                                                                                  of 13




 1   Nevada 89109. CEC is, and at all times relevant to this action was, a "person" as defined under 47

 2   U.S.C. § 153.

 3             8.        Plaintiff is informed and believes, and based thereon alleges, that Defendant Caesars

 4   Palace is a Nevada company with its principal place of business located at One Caesars Palace Drive,

 5   Las Vegas, Nevada 89109. Caesars Palace is, and at all times relevant to this action was, a "person" as

 6   defined under 47 U.S.C. § 153.

 7                           ALLEGATIONS CONCERNING DEFENDANTS' ROLL-OUT

 8                                        OF THE IVY VIRTUAL CONCIERGE

 9             9.        Defendant CEC is one of the largest gaming companies in the world. and owns and

10   operates over fifty casinos and hotels under various brands. 1 Defendant Caesars Palace is one of the

11   hotel casinos operated by CEC.

12                 10.   In or before 2016, CEC began working with a California-based company called
13   GoMoment to roll out a guest-engagement platform known as the Ivy virtual concierge at certain of its

14   properties. Similar to Siri, Alexa, and Google Assistant, Ivy is a form of artificial intelligence that is

15   used to power a messaging service designed to interact with hotel guests. As one writer puts it, "[w ]hile

16   Siri inhabits an iPhone, Alexa her Echo and Google Assistant hangs out in the office and home, Ivy is a

17   more itinerant sort: She's the world's largest travel chatbot, working in hotels across the country." 2

18   GoMoment explains on its website homepage that the Ivy product has been "[ d]esigned in concert with

19   hotel owners and operators," and has "ushered in the next generation of guest engagement and online

20   reputation management." 3 According to GoMoment, Ivy is employed by some of the world's largest

21   hotel brands, including Hilton, Wyndham, Doubletree, and others. 4

22                 11.   Plaintiff is informed and believes, and based thereon alleges, that Defendants and

23   GoMoment have had, and continue to have, a close business partnership. Describing the

24
         1
25       Wikipedia, https://en.wikipedia.org/wiki/Caesars_ Entertainment_Corporation (last updated July 30,
     2018).
26      2
          Andy Vasoyan, "Hey Ivy, Where's the Pool?," Playa Vista Direct, https://playavistadirect.com/
     hey-ivy-wheres-pool/ (Feb. 24, 2018).
27
        3
             GoMoment, http://www.gomoment.com/ (last visited July 18, 2018).
28      4
             Id.

                                                            2
                                                   CLASS-ACTION COMPL.
            Case
              Case
                 2:18-cv-02297-GMN-NJK
                    3:18-cv-05781-EMC Document
                                        Document
                                               1-11-1Filed
                                                        Filed
                                                           09/21/18
                                                              09/21/18Page
                                                                        Page
                                                                           5 of5 13
                                                                                 of 13



 1   implementation oflvy, CEC's Chief Experience Officer, Michael Marino, stated:

 2            GoMoment has been an excellent partner to work with since we initially launched Ivy in

 3            December 2016. They have a tried and true execution plan that allows us to launch Ivy at
 4            a property with less than a month lead time. The set-up is fairly straightforward with

 5            drafting answers to the common questions that we train Ivy on in the IBM Watson

 6            platform, setting up user accounts and conducting the on-site trainings for the agents. 5
 7            12.    Plaintiff is informed and believes, and based thereon alleges, that the Ivy platform

 8   through which the messages at issue were sent was developed, and is maintained, by GoMoment in

 9   California. Plaintiff is further informed and believes, and based thereon alleges, that, at all relevant

10   times, Defendants were aware of this due to their close working relationship with Go Moment.
11            13.    A prime motivation for the implementation of Ivy was and remains boosting hotel

12   revenue by increasing the purchase of hotel-related services and products, such as restaurants, shows,

13   and the like. GoMoment's homepage states: "Drive more profitable revenue on autopilot with

14   customized incentives. Keep your guests coming back with personalized service." 6 GoMoment has
15   explained:

16                                          How to increase hotel revenue

17                   Hotels and resorts are always looking for a way to increase revenue and improve

18            the guest experience. But what is the best way to do so? A combination of automation

19            and the human touch.

20                   What if you could automatically offer guess a reservation at the on-site restaurant,

21            in a non-intrusive way? What if you could answer your guests [sic] questions instantly

22            without requiring them to call or walk to the front desk? What if that answer did not

23            require any time or focus from your staff?

24                   Well, that's exactly what Ivy does, Maximizing [sic] hotel revenue, while

25            improving guest review scores at the same time.

26
        5
          Carris Little, "Ivy's Presence Grows Across Caesars Entertainment Portfolio, Hotel Business,
27   https://www .hotelbusiness.com/ivys-presence-grows-across-caesars-entertainment-portfolio/ (Feb. 28,
     2018).
28      6
            GoMoment, http://www.gomoment.com/ (last visited July 18, 2018).

                                                            3
                                                CLASS-ACTION COMPL.
            Case
              Case
                 2:18-cv-02297-GMN-NJK
                    3:18-cv-05781-EMC Document
                                        Document
                                               1-11-1Filed
                                                        Filed
                                                           09/21/18
                                                              09/21/18Page
                                                                        Page
                                                                           6 of6 13
                                                                                 of 13



                     Ivy is the only guest messaging service powered by artificial intelligence (built in

 2            partnership with IBM Watson). She is empowering hotels and resorts to deliver a world-

 3            class experience while generating additional revenue, all with no app download required. 7
 4            14.    Plaintiff is informed and believes, and based thereon alleges, that Ivy was rolled out at

 5   Caesars Palace in about the summer of 2017. In a subsequent press release concerning the roll-out,

 6   Defendant CEC acknowledged the revenue-generating power of Ivy, stating:

 7            Besides automating typical service questions, Ivy™ routes complex requests and service

 8            issues to hotel staff for improved efficiency and delighted guests. Ivy™ can also book

 9            restaurant reservations, spa appointments, and other revenue-driving services. 8

10            15.    Ivy has been rolled-out at various other CEC properties, including Nobu Hotel (at

11   Caesars Palace), The Cromwell, and The Ling Hotel & Casino. Plaintiff is informed and believes, and

12   based thereon alleges, that Defendants directed the roll-out oflvy and were directly involved in

13   determining message content and tone, as well as to whom and when messages would be sent.

14                       ALLEGATIONS CONCERNING PLAINTIFF'S EXPERIENCE

15            16.    On or about April 6, 2018, Plaintiff checked into Caesars Palace. During the check-in

16   process at the front desk, he was asked for, and he orally provided, his cellular-telephone number (which

17   has a California prefix) to the receptionist. Plaintiff also provided his California address as part of the

18   registration process. Approximately thirty minutes after check-in, he received the following text

19   message from Defendants:

20            Hi! I'm Ivy, your personal concierge at Caesars Palace. Text me for hotel information,

21            towels, housekeeping requests and more. Text STOP to quit. Info/terms: j.mp/IvyTerms

22            I look forward to assisting you during your stay. Text me your first request now!

23   Plaintiff did not respond to this text message.

24            17.    In the text message that Plaintiff received, the portion reading "j.mp/IvyTerms" was a
25
        7
           GoMoment, https://medium.com/@ivygomoment/how-to-increase-hotel-revenue-b7702235f77b
26   (last visited July 18, 2018) (emphasis in original).
        8
          CEC, '·Caesars Entertainment Law Vegas Resorts Elevates Customer Service with Ivy,
27
     Personalized Virtual Concierge Service, CISION PR Newsire,https://www.prnewswire.com/news-
     releases/caesars-entertainment-las-vegas-resorts-elevates-customer-service-with-ivy-personalized-
28   virtual-concierge-service-300579316.html (Jan. 8, 2018) ( emphasis supplied).

                                                        4
                                               CLASS-ACTION COMPL.
             Case
               Case
                  2:18-cv-02297-GMN-NJK
                     3:18-cv-05781-EMC Document
                                         Document
                                                1-11-1Filed
                                                         Filed
                                                            09/21/18
                                                               09/21/18Page
                                                                         Page
                                                                            7 of7 13
                                                                                  of 13



 1   link to a webpage. Clicking on the link opens up a webpage that promotes the commercial availability

 2   and quality ofivy, stating, inter alia:

 3                                        Ivy will help you during your stay!

 4             Want to make a request? Close this page, go back to the text message you received,

 5             and just reply. You can ask for towels, get the wifi passcode, or even ask for local

 6             recommendations. Ifivy doesn't know the answer, she will connect you with the front

 7             desk. Ivy is available anywhere, anytime during your stay! So please use her!

 8             Want to Opt-Out? If you do not want to text with Ivy, go back to the text message your

 9             received and reply STOP.

10             How Does Ivy Work? Ivy works simply by text message. To get started, close this page

11             and reply to the text message you received.

12             What Can Ivy Help Me With? You can ask for towels, get the wifi passcode, or even

13             ask for local recommendations. If Ivy doesn't know the answer, she will connect you

14             with hotel staff. It's simple. Go back to the text message your received and reply now to

15             make your first request.

16             Why Ivy? Created by busy travelers, Ivy exists to serve your needs while you're on the

17             go. Hotel staff can't always attend to your every need right away, so Ivy was created to

18             be your virtual assistant during your stay. We hope you enjoy Ivy and your travels! Ivy

19             was developed by Go Moment, and is available to hotels worldwide. Sales & media

20             inquiries can be directed to the Contact Us link below.

21             Issues or Opting Out: Reply "STOP" or "UNSUBSCRIBE" at any time to permanently

22             opt out of Ivy service. Ivy strives to be helpful in all her interactions, and takes abuse

23             seriously. If Ivy was anything but helpful to you, please let us know using the Contact

24             Us link below. 9

25             18.    Plaintiff is informed and believes, and based thereon alleges, that other guests of Caesars

26   Palace, as well as the guests of other CEC properties that have rolled out Ivy, are sent messages by

27

28       9
             GoMoment, http://info.gomoment.com/ivy/ (last visited July 24, 2018).

                                                           5
                                                  CLASS-ACTION COMPL.
          Case
            Case
               2:18-cv-02297-GMN-NJK
                  3:18-cv-05781-EMC Document
                                      Document
                                             1-11-1Filed
                                                      Filed
                                                         09/21/18
                                                            09/21/18Page
                                                                      Page
                                                                         8 of8 13
                                                                               of 13




 1   Defendants upon check-in that are the same as, or substantially similar to, the message that Plaintiff

2    received. Plaintiff is are further informed and believes, and based thereon alleges, that these messages

 3   were sent for the purpose of both advertising the availability of the Ivy product, on the one hand, and
4    encouraging the patronage of hotel-related products and services, on the other hand. In addition,

 5   Plaintiff is informed and believes, and based thereon alleges, that, when these messages are responded to

 6   by a guest who is seeking a product or a service (e.g., a restaurant or a show), only products and services

 7   offered by CEC properties are recommended.

 8          19.     At no time prior to receiving the text message referenced in paragraph 16 had Plaintiff

 9   ever signed a document, whether in paper or electronic form, reciting that Defendants were authorized to

10   send text messages to him using an automatic telephone dialing system for telemarketing or advertising

11   purposes. Similarly, at no time prior to receiving the text message referenced in paragraph 16 had

12   Plaintiff ever signed a document, whether in paper or electronic form, reciting that he was not required

13   to provide consent as a condition of purchasing any goods or services.

14          20.     It is apparent from the context of the text messages above that the messages were not sent

15   with an emergency purpose, but instead to advertise the availability of the Ivy product and to promote

16   services, activities, and events provided by Caesars Palace.

17          21.     At all times relevant to this action, Plaintiff's cellular-telephone number was linked to a

18   subscription plan under which he was charged each month for cellular-telephone and data services.

19           22.    Plaintiff is informed and believes, and based thereon alleges, that his cellular-telephone

20   number, along with numerous other telephone numbers, was entered into the Ivy platform or into a

21   database that the Ivy platform is capable of accessing to mass-dial and/or automatically dial numbers,

22   and that Defendants sent the message referenced in paragraph 16 using the Ivy platform.

23           23.    Plaintiff is informed and believes, and based thereon alleges, that thousands of similar

24   messages were and continue to be sent en masse to the cellular telephones of the guests at Caesars

25   Palace and other CEC properties. Plaintiff is further informed and believes, and based thereon alleges,

26   that all of these text messages were sent using the equipment or software referenced in paragraph 22

27   supra. In addition, Plaintiff is informed and believes, and based thereon alleges, that, at no time prior to

28   receiving these text messages had any guest ever signed a document, whether in paper or electronic


                                                           6
                                               CLASS-ACTION COMPL.
          Case
            Case
               2:18-cv-02297-GMN-NJK
                  3:18-cv-05781-EMC Document
                                      Document
                                             1-11-1Filed
                                                      Filed
                                                         09/21/18
                                                            09/21/18Page
                                                                      Page
                                                                         9 of9 13
                                                                               of 13




 1   form, disclosing that the guests were authorizing the delivery of telemarketing or advertising messages

2    by way of an automatic telephone dialing system, or disclosing that the guests were not required to

 3   provide consent as a condition of purchasing any goods or services.

4                                        CLASS-ACTION ALLEGATIONS

 5          24.     Plaintiff seeks to represent the following Classes under section 3 82 of the California

 6   Code of Civil Procedure:

 7          CEC Class: All persons who, during the four years prior to the filing of the Complaint in

 8          this action through the date of class certification, received one or more text messages

 9          from the Ivy concierge sent by a hotel owned and/or operated by CEC.

10          Caesars Palace Subclass: All persons who, during the four years prior to the filing of

11          the Complaint in this action through the date of class certification, received one or more

12          text messages from the Ivy concierge sent by Caesars Palace.

13          25.     Plaintiff reserves the right to amend or modify the proposed Classes, or to propose further

14   subclasses or limitations to particular issues, in response to facts later ascertained.

15          26.     Numerosity. The identities of Class Members may be ascertained from Defendants' own

16   business and marketing records, as well as the records of Defendants' telephone provider(s). Joinder of

17   all Class Members would be impracticable due to the sizeable number of such Members and their likely

18   lack of resources to initiate individual claims. Plaintiff estimates that thousands of text messages were

19   sent to well-over the forty individuals required for numerosity purposes. Also, as explained below, the

20   amount that is owed to any given Class Member under the TCP A is relatively small, making it

21   impractical for them to bring their own individual suits.

22           27.     Commonality. There are questions oflaw and fact that are common to the Classes that

23   predominate over any questions affecting only individual Class Members. These common questions

24   include, without limitation:

25                   a)      whether the text messages constitute telemarketing and/or advertising within the

26   meaning of the TCP A and its regulations;

27                   b)      whether the equipment used to send the text messages constitutes an automatic

28   telephone dialing system within the meaning of the TCP A and its regulations;


                                                         7
                                                CLASS-ACTION COMPL.
         Case
           Case
              2:18-cv-02297-GMN-NJK
                 3:18-cv-05781-EMC Document
                                     Document
                                            1-11-1Filed
                                                     Filed
                                                        09/21/18
                                                           09/21/18Page
                                                                     Page
                                                                        10 10
                                                                           of 13
                                                                              of 13




                    c)      whether prior express written consent was required under the TCP A and its

2    regulations before sending any of the text messages; and,

3                   d)      whether the outright failure to secure any prior express written consent constitutes

4    willful and knowing behavior within the meaning of the TCP A and its regulations.

 5           28.    Typicality. Plaintiff's claims are typical of those of Class Members because he received

 6   a text message from Ivy; he never provided prior express written consent to receive the text message;

 7   and the text message was sent to his cellular telephones for an advertising and/or marketing purpose

 8   using the same equipment used to send text messages to all Class Members.

 9           29.    Adequacy. Plaintiff will fairly and adequately represent and protect the interests of the

10   Classes. He is not aware of any conflicts that he has with Class Members, and he plans on pursuing the

11   litigation vigorously. He also has the same interests as those of the Classes, and he has retained counsel

12   who are competent and experienced in class-action litigation. In addition, he has been actively involved

13   in the litigation, he will continue to participate and be available for the duration of the litigation, and he

14   understand the duties that he holds to the Classes.

15           30.    Superiority. A class action is superior to other available methods for the fair and

16   efficient adjudication of this controversy. Again, the individual joinder of all Class Members is

17   impracticable because of the relatively small recovery amounts at stake and the relative lack of resources

18   available for individual Class Members vis-a-vis the large corporate Defendants. Additionally, the

19   judicial system would be burdened with multiple trials of the same issues, and the potential for

20   inconsistent or contradictory judgments would increase. The common questions detailed above, in fact,

21   predominate in this action, as Class Members' claims arise out of the same course of conduct to which

22   Plaintiff was himself subject. A class action therefore would conserve the resources of the parties and

23   the Court while protecting the rights of Class Members. Defendants' conduct as described above is

24   unlawful, continuing, and capable of repetition, and it will continue unless restrained and enjoined by

25   the Court. Moreover, it is a matter of public interest to obtain definitive answers to the legality of

26   Defendants' actions in a single case.

27   /Ill/

28


                                                         8
                                                CLASS-ACTION COMPL.
         Case
           Case
              2:18-cv-02297-GMN-NJK
                 3:18-cv-05781-EMC Document
                                     Document
                                            1-11-1Filed
                                                     Filed
                                                        09/21/18
                                                           09/21/18Page
                                                                     Page
                                                                        11 11
                                                                           of 13
                                                                              of 13

                                 ·-
 1                                         FIRST CAUSE OF ACTION
 2                                             Violation of the TCPA

 3                                                47 USC.§ 227
 4          31.     Plaintiff re-pleads, re-alleges, and incorporates by reference each and every allegation set

 5   forth in this Complaint.

 6          32.     The United States Congress enacted the TCP A in order to balance individual privacy

 7   rights with legitimate telemarketing practices. In enacting this statute, Congress found:

 8                  (1)     The use of the telephone to market goods and services to the home and

 9          other businesses is now pervasive due to the increased use of cost-effective telemarketing

10          techniques.

11

12                  (10)    Evidence compiled by the Congress indicates that residential telephone

13          subscribers consider automated or prerecorded telephone calls, regardless of the content

14          or the initiator of the message, to be a nuisance and an invasion of privacy.

15                  (11)    Technologies that might allow consumers to avoid receiving such calls are

16          not universally available, are costly, are unlikely to be enforced, or place an inordinate

17          burden on the consumer.

18                  (12)    Banning such automated or prerecorded telephone calls to the home,

19          except when the receiving party consents to receiving the call or when such calls are

20          necessary in an emergency situation affecting the health and safety of the consumer, is

21          the only effective means of protecting telephone consumers from this nuisance and

22          privacy invasion.

23   TCPAof1991,PL 102-243,December20, 1991, 105 Stat 2394.

24          33.     The TCPA specifically prohibits automated calls or messages to consumers' cellular-

25   telephone numbers without first obtaining the express consent or permission of the consumers:

26                  It shall be unlawful for any person within the United States, or any person outside

27          the United States if the recipient is within the United States[,] (A) to make any call (other

28          than a call made for emergency purposes or made with the prior express consent of the


                                                       9
                                              CLASS-ACTION COMPL.
         Case
           Case
              2:18-cv-02297-GMN-NJK
                 3:18-cv-05781-EMC Document
                                     Document
                                            1-11-1Filed
                                                     Filed
                                                        09/21/18
                                                           09/21/18Page
                                                                     Page
                                                                        12 12
                                                                           of 13
                                                                              of 13



 1          called party) using any automatic telephone dialing system ... (iii) to any telephone

 2          number assigned to a ... cellular telephone service ....

 3   47 U.S.C. § 227(b)(l). A text message is a "call'' within the meaning of the TCPA. E.g., Satterfield v.

 4   Simon & Schuster. Inc., 569 F.3d 946, 954 (9th Cir. 2009).

 5          34.      Under the relevant regulation, effective October 16, 2013, "prior express consent" as

 6   used in subsection (b)(l)(A)(iii) of the TCPA means '·prior express written consent" for all

 7   telemarketing or advertising messages. 47 C.F.R. § 64.1200(a)(2) (emphasis supplied). Such consent

 8   must be signed by the consumer; disclose that the consumer authorizes the entity on whose behalf the

 9   message is sent to deliver, or cause to be delivered, telemarketing or advertising messages by way of an

10   automatic telephone dialing system; and disclose that the consumer is not required to provide consent as

11   a condition of purchasing any goods or services. Id. § 64.1200(£)(8). As alleged above, neither Plaintiff

12   nor any Class Member ever signed, whether in paper or electronic form, a document containing these

13   disclosures.

14          35.      The foregoing acts and omissions of Defendants constitute a direct violation of the

15   TCP A. Defendants were and are aware of the TCP A and its requirements, and, on information and

16   belief, intentionally violated the law in an effort to maximize profits. Defendants' violations therefore

17   were willful.

18          36.      The TCP A establishes a private right of action for sending unauthorized messages to

19   consumers:

20                   A person or entity may, if otherwise permitted by the laws or rules of court of a

21          State, bring in an appropriate court of that State (A) an action based on a violation of this

22          subsection or the regulations prescribed under this subsection to enjoin such violation,

23          (B) an action to recover for actual monetary loss from such a violation, or to receive $500

24          in damages for each such violation, whichever is greater, or (C) both such actions. If the

25          court finds that the defendant willfully or knowingly violated this subsection or the

26          regulations prescribed under this subsection, the court may, in its discretion, increase the

27          amount of the award to an amount equal to not more than 3 times the amount available

28          under subparagraph (B) of this paragraph.


                                                        10
                                               CLASS-ACTION COMPL.
          Case
            Case
               2:18-cv-02297-GMN-NJK
                  3:18-cv-05781-EMC Document
                                      Document
                                             1-11-1Filed
                                                      Filed
                                                         09/21/18
                                                            09/21/18Page
                                                                      Page
                                                                         13 13
                                                                            of 13
                                                                               of 13




 1   47 U.S.C. § 227(b)(3). Pursuant to 47 U.S.C. § 227(b)(3)(B), Plaintiff and Class Members are entitled

 2   to an award of $500 in statutory damages for each and every text message that they received. Moreover,

 3   because Defendants willfully and knowingly violated the TCP A as alleged above, Plaintiff and Class

 4   Members are entitled to treble damages. Finally, pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff and

 5   Class Members are entitled to injunctive relief.

 6                                             PRAYER FOR RELIEF

 7              WHEREFORE, Plaintiff prays for judgment as follows:

 8              1.    an order certifying the Classes under section 382 of the California Code of Civil

 9   Procedure;

10              2.    judgment in favor of Plaintiff and Class Members for the period of time commencing

11   four years prior to the filing of the Complaint in this action, for statutory treble damages against

12   Defendants jointly and severally, as well as for injunctive relief;

13              3.    an award of pre-judgment and post-judgment interest, to the extent allowable by law;

14              4.    an award of attorney's fees and costs of suit, to the extent allowable by law; and

15              5.    such further relief as the Court deems fit and proper.

16
     Dated: August 2, 2018                                  GREENSTONE LAW APC
17

18

19
                                                            ~k~t ~------
20                                                          GLANCY PRONGA Y & MURRAY LLP
                                                            Lionel Z. Glancy
21                                                          Marc L. Godino
                                                            Danielle L. Manning
22
                                                            JAURIGUE LAW GROUP
23                                                          Michael J. Jaurigue
                                                            Abigail A. Zelenski
24                                                          David Zelenski
25                                                          Attorneys for Plaintiff
26
     II I I I
27

28


                                                           11
                                                CLASS-ACTION COMPL.
